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 14   Attorneys for Defendants
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 15
 16                         UNITED STATES DISTRICT COURT
 17                       CENTRAL DISTRICT OF CALIFORNIA
 18                                    WESTERN DIVISION
 19
                                              CASE NO. 2:22-cv-04355-JFW-JEM
 20   Yuga Labs, Inc.,
                                              DEFENDANTS’ PROPOSED VOIR
 21                           Plaintiff,      DIRE
 22        v.
                                              Judge: Hon. John F. Walter
 23   Ryder Ripps, Jeremy Cahen,
                                              Pre-Trial Conference Date: June 9, 2023
 24                           Defendants.
                                              MIL Hearing Date: June 16, 2023
 25                                           Trial Date: June 27, 2023
 26
 27
 28
      CASE NO. 2:22-CV-04355-JFW-JEM          - 1-   DEFENDANTS’ PROPOSED VOIR DIRE
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  1                           DEFENDANTS’ PROPOSED VOIR DIRE
  2         Pursuant to Fed. R. Civ. P. 47 and Section 6(h) of this Court’s Scheduling and
  3   Management Order (Dkt. 57), Defendants Mr. Ripps and Mr. Cahen set forth below
  4   their proposed voir dire questions. Defendants also reserve the right to propose
  5   additional voir dire questions in response to any circumstances that may occur between
  6   now and the final selection of jurors.
  7         1.     How do you get your news?
  8         2.     What kind of social media do you use?
  9         3.     Do you use Twitter?
 10         4.     Have you ever bought or sold cryptocurrency?
 11         5.     Have you ever bought or sold a “non-fungible token” or “NFT”?
 12         6.     Have you heard of the Bored Ape Yacht Club?
 13
 14
 15
 16
 17   Dated: June 6, 2023                      By: /s/ Louis W. Tompros
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      CASE NO. 2:22-CV-04355-JFW-JEM              - 2-   DEFENDANTS’ PROPOSED VOIR DIRE
Case 2:22-cv-04355-JFW-JEM Document 270 Filed 06/06/23 Page 3 of 4 Page ID #:20638




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      CASE NO. 2:22-CV-04355-JFW-JEM         - 3-   DEFENDANTS’ PROPOSED VOIR DIRE
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                                CERTIFICATE OF SERVICE
 1
            I hereby certify that a copy of the foregoing document was served on all attorneys
 2
     of record via email June 6, 2023.
 3
 4
                                             By: /s/ Louis W. Tompros
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     Case No. 2:22-cv-04355-JFW-JEM           -4-       DEFENDANTS’ PROPOSED VOIR DIRE
